

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-75,729






EX PARTE LAMONT L. DEWBERRY, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 241-1649-04 IN THE 241ST DISTRICT COURT


FROM SMITH COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus. Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967). Applicant was convicted of aggravated assault
and sentenced to seventy-five years' imprisonment. 

	Applicant contends that his counsel rendered ineffective assistance because he failed to timely
file a notice of appeal. We remanded this application to the trial court for findings of fact and
conclusions of law.

	The trial court has determined that though counsel was not ineffective, Applicant was denied
his right to appeal. We find, therefore, that Applicant is entitled to the opportunity to file an out-of-time appeal of the judgment of conviction in Cause No. 241-1649-04 from the 241st Judicial District
Court of Smith County. Applicant is ordered returned to that time at which he may give a written
notice of appeal so that he may then, with the aid of counsel, obtain a meaningful appeal. All time
limits shall be calculated as if the sentence had been imposed on the date on which the mandate of this
Court issues. We hold that, should Applicant desire to prosecute an appeal, he must take affirmative
steps to file a written notice of appeal in the trial court within 30 days after the mandate of this Court
issues.


Delivered: August 22, 2007

Do Not Publish


